Form ntcfinmgt (Revised 12/03/2015)


                                      United States Bankruptcy Court − District of Kansas
                                               161 Robert J. Dole US Courthouse
                                                       500 State Avenue
                                                     Kansas City, KS 66101

Case Number: 23−21501                                             Chapter: 7

In re: (Name of Debtor)
Mark James Phillips
4205 Adams St
Kansas City, KS 66103

                                                                                                         Filed By The Court
                                          NOTICE OF REQUIREMENT TO FILE A
  Entered By The Court                 STATEMENT OF COMPLETION OF COURSE IN                                   12/21/23
        12/21/23                          PERSONAL FINANCIAL MANAGEMENT                                   David D. Zimmerman
                                                  (Official Form 423)                                        Clerk of Court
                                                                                                          US Bankruptcy Court


Notice is hereby given that, subject to limited exceptions, a debtor must complete an instructional course in personal financial
management after filing the petition in order to receive a discharge under chapter 7 (11 U.S.C. 727) or chapter 13 (11 U.S.C.
1328). Pursuant to Rule 1007(b)(7) of the Rules of Bankruptcy Procedure, the debtor(s) must complete and file Debtor's
Certification of Completion of Instructional Course Concerning Personal Financial Management (Official Form 423)* as
described in 11 U.S.C. 111.
Debtor(s) and debtor(s)' attorney are hereby notified that Official Form 423 must be filed before a discharge can be entered.
Debtor(s) and debtor(s)' attorney are hereby notified that the debtor(s) must file Official Form 423 within 60 days after the first
date set for the meeting of creditors under § 341 for a chapter 7 case or no later than the last payment made by the debtor in a
chapter 13 case. Failure to file the certification will result in the case being closed without an entry of discharge. If a Motion to
Reopen the Case is subsequently filed by Debtor(s), to allow for the filing of the Official Form 423, the debtor(s) must pay the full
reopening fee due for filing the motion.


*NOTE: Official Form 423 (Debtor's Certification of Completion of Instructional Course Concerning Personal Financial
Management) must be filed in all individual chapter 7 and chapter 13 cases even if the U.S. Trustee has not approved any credit
counseling agency or financial management course for the applicable district. See Rule 1007(b)(7).




Document 8                                                        s/ David D. Zimmerman
                                                                  Clerk, United States Bankruptcy Court




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                                                               United States Bankruptcy Court
                                                                     District of Kansas
In re:                                                                                                                  Case No. 23-21501-RDB
Mark James Phillips                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1083-2                                                   User: admin                                                                 Page 1 of 1
Date Rcvd: Dec 21, 2023                                                Form ID: ksnfinmg                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 23, 2023:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                      Date/Time                 Recipient Name and Address
db                     + Email/PDF: markphillips.mjp.enterprises@gmail.com
                                                                                         Dec 21 2023 20:20:00      Mark James Phillips, 4205 Adams St, Kansas City,
                                                                                                                   KS 66103-3108

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 23, 2023                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 21, 2023 at the address(es) listed
below:
Name                               Email Address
Christopher J Redmond
                                   christopher.redmond@christopherredmondlawfirm.com
                                   karen@christopherredmondlawfirm.com;cjredmond@ecf.axosfs.com;MO26@ecfcbis.com

Sean Collins, I
                                   on behalf of Debtor Mark James Phillips sean.c.712@gmail.com

U.S. Trustee
                                   ustpregion20.wi.ecf@usdoj.gov


TOTAL: 3




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